\`\‘\' Case 2:04-cv-02707-.]PI\/|-STA Document 15 Filed 07/06/05 Page 1 of 3 Page|D 22

lN THE UNITED STATES DISTRICT COURT "`CAL
FOR THE wESTERN I)ISTRICT oF TENNESSEE jim y g mg

 

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Plaimifr, JURY DEMANDED c
CASE NO. 04-2707€, - § 5
V. §;1>$3§ 1 ga
.ZY?£_ °‘
§ -1 §§
TENNESSEE AIR NA'HONAL GIJARD (“TANG”) §"‘ x , o
LIEIJTENANT CoLoNEL JAMES 0. BALL, CoMMANI)ER, ,S, g
-:"'

TANG; CoLoNEL GARRY T. HICKS, CoMMANDER, TANG;
MAJOR GENERAL GUS I. HARGETT, m,
AI)J“UTANT GENERAL, TENNESSEE NATIONAL GUARD; MOTIOH GRANTED

h_________*_”
LIEUTENANT GENERAL H. STEVEN BLUM, CH[EF, ,_U JON PHIPPS Mo(
NATIONAL GUARD BUREAU; LIEUTENANT GENERAI.. ` ' H's-'- DISTRICT¢

 

DANIEL JAMES, ln, DIRECTOR, A[R NATIONAL GUARD; ` '
UNITED sTATEs nEPARTMENT oF THE AlR FORCE; _ l ~‘-=--_-BH_
and JAMES G. RoCHE, sECRETARY oF THE AIR FoR E. 9 mr_(]g&‘

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Defendants.

 

REsPoNsE To snow CAUSE om)ER " * " ' ' mm

 

Comes now the PlaintiH’s counsel, Thelma J. Copeland, and responds to the Court’s
Order to show cause as follows:
l. Counsels for Plaintiff have three cases in this Court concerning the same
Defendant and issues
2. Counsel mistakenly believed that all three cases were included in the opposition’s
Motion to Dismiss; and
3. Counsel made a Motion to allow more time to respond to the motions made by the

defense; and

with sum ss and/or rs(a) FRCP on ' ' 5

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4. Counsel believed all three cases were covered in Counsel’s Motion,' and
5. Having discovered that this case was not included in the previous motion made by

Counsel for Plaintiff;

6_ Due to the current work load in that co-counsel has been working on an appellant
brief; and
7 . The importance of Plaintiil’s response to the Motion to Dismiss; and

8. The fact that PlaintiH’ s case will be severely prejudiced if counsel does not take the
necessary time to review before responding to the Motion to Dismiss;

9. Counsel requests additional time until July 31, 2005 to prepare the response to
Defendant’s Motion to Dismiss as counsels requested in the other two cases
involving this Defendant and these issues
WHEREFORE I'l` IS REQUESTED that counsel for the Plaintiff be allowed

until luly 31, 2005 to file Plaintiff’s response to the Defendant’s Motion to Disrniss.
Respeetfully submitted,

Thelrna J. Co,zéland,OZ§%o

217 Exchange Avenue
Memphis, TN 38105
(901) 526-1890

CERTIFICATE OF SERVICE

I, Thelma J. Copeland, do hereby certify that a copy of the foregoing has been mailed to
Ham`et Holman, Esquire, U.S. Attorney’s Office, Suite 800, 167 N. Main Street, Memphis, TN

38103 on this the 20th day of June, 2005_
Thelrna .I. Cople‘land

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:04-CV-02707 was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

